                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


     KLOOSTERBOER INTERNATIONAL
     FORWARDING, LLC, et al.,

                Plaintiffs,

           v.
                                           Case No. 3:21-cv-00198-SLG
 UNITED STATES OF AMERICA, et
 al.,

                Defendants.


     UNITED STATES OF AMERICA, et al.

                Counter Claimants,

           v.

 KLOOSTERBOER INTERNATIONAL
 FORWARDING, LLC, et al.,

                Counter Defendants.



                     SCHEDULING AND PLANNING ORDER


I.      Meeting of the Parties/Scheduling Conference

        Based upon information available to the Court through Defendants’

Scheduling and Planning Conference Report at Docket 156, Plaintiffs’ Scheduling

and Planning Conference Report at Docket 157, and the parties’ Scheduling

Conference with the Court on June 6, 2022, this order for the pretrial development

of the case is entered pursuant to Rule 16(b), Federal Rules of Civil Procedure.




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       This order may be modified only for good cause shown and with the

consent of the Court. See Rule 16(b)(4), Federal Rules of Civil Procedure.

II.    Discovery Plan

       Discovery shall be conducted in accordance with Rules 26 through 37 of the

Federal Rules of Civil Procedure and any applicable Local Civil Rules, except as

otherwise provided below.

            Timing, Form, and Disclosure Requirements. The requirements of

            Rule 26(f)(3)(A) shall apply to this case.            Any changes to those

            requirements that the Court has approved are incorporated in the

            following paragraphs, Sections II.B through II.G. Each party must

            contemporaneously prepare and maintain a written record of all

            disclosures and supplementation of disclosures or responses made to

            requests for discovery under Rule 26(a) and (e), Federal Rules of Civil

            Procedure. Unless required in support of a motion or by order of the

            Court, disclosures and supplemental disclosures are not to be filed with

            the Court.

            Initial Disclosures / Preliminary Witness Lists.

            1. The information required by Rule 26(a)(1), Federal Rules of Civil

                 Procedure:

                 (a) ☐     has been exchanged by the parties.




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                 (b) ☒     shall be exchanged by the parties on or before June 15,

                     2022.

            2. Preliminary witness lists:

                 (a) ☐     have been exchanged by the parties.

                 (b) ☒     shall be exchanged by the parties on or before July 1,

                     2022.

            3. With reference to the disclosure requirements of Rule 7.1, Federal

                 Rules of Civil Procedure:

                 (a) ☒     The parties are in compliance.

                 (b) ☐     Compliance       shall   be   accomplished   on   or   before

                     _________.

                 (c) ☐     Rule 7.1 is not applicable.

            Subjects and Timing of Discovery

                 The parties ☒ have / ☐ have not reported the subjects on which

                 discovery may be needed.

                 Discovery shall not be conducted in phases or limited to or focused

                 on particular issues.

            3.   The parties ☐ have / ☒ have not shown cause for a discovery close

                 date beyond 12 months from their reports.




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                 Final Discovery Witness List.            A final discovery witness list,

                 disclosing all lay witnesses that a party may wish to call at trial either

                 by live testimony or deposition, shall be served and filed not later

                 than September 16, 2022. Each party shall make a good-faith

                 attempt to list only those lay witnesses that the party reasonably

                 believes will testify at trial. Unless otherwise ordered for good

                 cause shown, only those lay witnesses disclosed in this final

                 discovery witness list, and the expert witnesses that were timely

                 identified, will be permitted to testify at trial.

                 Close of Fact Discovery. Fact discovery shall be completed on or

                 before October 31, 2022.

                 Expert Discovery. Pursuant to Rule 26(a)(2), Federal Rules of

                 Civil Procedure:

                 (a) Expert witnesses shall be identified by each party on or before

                     July 29, 2022, and each party may identify responsive

                     supplemental expert witnesses within 14 days thereafter.

                 (b) The deadline for expert disclosures (reports) required by

                     Rule 26(a)(2) shall be determined at a Scheduling Conference

                     on August 19, 2022, at 9:30 a.m. in Anchorage Courtroom 3.




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                 (c) The date for the completion of expert witness discovery

                     (including depositions) shall be determined at the Scheduling

                     Conference on August 19, 2022.

            Preservation of Discovery, Including Electronically Stored

            Information (ESI).

            1. No issues have been reported as regards disclosure, discovery, or

                 preservation of ESI, including the form or format in which it should

                 be produced.

            2. The parties shall proceed as they have proposed with respect to

                 the production of ESI.

            3.   Preservation of non-ESI Discovery:

                 (a) ☒      There is no indication that this will be an issue.

                 (b) ☐      The parties may proceed as they have proposed.

            Claims of Privilege or Protection of Attorney Work Product.

            Claims of privilege or protection of trial preparation materials shall be

            handled as follows:

            1. ☐     There is no indication that this will be an issue.

            2. ☐     The parties have entered into a confidentiality agreement.

            3. ☒     The parties shall submit their proposed confidentiality

                     agreement on or before June 30, 2022.



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       F.   Limitations on Discovery. The following limitations on discovery are

            imposed:

            1. ☒     The limitations set forth in Federal Rules of Civil Procedure

                     26(b), 30, and 33, and in Local Civil Rules 30.1 and 36.1, apply,

                     except as indicated below.

            2. ☒     The maximum number of depositions by each party shall

                     not exceed 10.

                     (a) ☒     Depositions shall not exceed 7 hours as to any

                               deponent; or

                     (b) ☐     Depositions shall not exceed the following:

                               (1) [number] hours as to non-party deponents,

                                    and

                               (2) [number] hours as to party deponents,

                                    corporate officer deponents, Rule 30(b)(6)

                                    deponents, and expert witness deponents.

            3. ☒     The maximum number of interrogatories posed by each

                     party shall not exceed 25.

            4. ☒     The maximum number of requests for admissions posed

                     by each party shall not exceed 25.

            5. ☐     Other limitations: [insert other limitations].



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             Supplementation of Disclosures and Discovery Responses.

             Disclosures and discovery responses shall be supplemented:

             1. ☐     In accordance with Rule 26(e)(1) and (e)(2), Federal Rules of

                      Civil Procedure.

             2. ☒     At intervals of 14 days.

III.    Pretrial Motions.

             Preliminary motions as to jurisdiction, venue, arbitration, and/or statutes

             of limitation shall be served and filed not later than:

             1. ☒     Not applicable.

             2. ☐     [Date:]

        B.   Motions to amend, motions under the discovery rules, motions in limine,

             and dispositive motions:

             1. ☒     Motions shall be served and filed within the times specified by

                      the applicable rules, including Local Rules 7.2, 7.3, and 16.1(c),

                      except as indicated below.

             2. ☒     A motion/notice re Plaintiffs’ request for a jury trial shall be filed

                      by Plaintiffs by July 1, 2022.

             3. ☒     Motions to amend pleadings. A party must seek leave of the

                      Court to file an amended pleading.




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            4. ☒     Motions under the discovery rules as to fact discovery shall be

                     served and filed not later than November 7, 2022.

            5. ☒     No additional dispositive motions shall be filed without a

                     showing of good cause.

            6. ☒     The deadline for motions to exclude expert testimony shall be

                     determined at the August 19, 2022, Scheduling Conference.

IV.    Trial.

            A jury trial ☒ has / ☐ has not been demanded.

            The right to jury trial ☒ is / ☐ is not disputed. See Section III. B. 2

            supra.

       D.   Scheduling Trial.

            1. ☒ The Court will schedule trial at the August 19, 2022, Scheduling

                    Conference.

V.     Other Provisions.

         A. Consent to Proceed before a Magistrate Judge. The parties have

            not consented to trial before a Magistrate Judge.

         B. Early Settlement / Alternative Dispute Resolution. The parties have

            considered and reported to the Court regarding possible alternative

            dispute resolution procedures.




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         C. Related Cases. The parties have reported to the Court regarding any

            related cases as defined by Local Civil Rule 16.1(e).

       DATED this 9th day of June, 2022, at Anchorage, Alaska.

                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




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